wW nN

Case 1:21-cr-00179-RCL Document 113 Filed 10/03/23 Page 1 of 2

Tom Altman
Constable and keeper of the peace
In care of 876 route 271, Ligonier, Pennsylvania [15658]
724-217-4008 EcoQuestTom@aol.com

September 25, 2023
SLs C. Lit ttin
CAs, wos 9 ees /: v3
Royce Lamberth, the man and the Judge
333 Constitution Avenue North West
Washington, District of Columbia [20001]
Ref: Letter of reference and a claim regarding Rachel Marie Powell sentence
Case Number: 1:21-cr-179
Dear Judge Royce Lamberth:
Peace be with you and yours.

Reference: I have personally known the woman Rachel Marie Powell for
many years. She is a grandmother and the mother of eight (8) wonderful children,
Savannah, Jacob, Rebekah, Adah Mae, Benjamin, Gabriel, Nikolaus, and Tessa, who
need her daily guidance.

I testify she works above and beyond to improve the world in which we live.
A few examples of her reputation that exceed the norm are:

- She and her children organized food co-operatives for the community on a
biweekly basis; and

- Rachel organized group training classes for things like learning to butcher
and personal safety; and

- did mission work in Mexico to alleviate the situation of the poor; and

Lof 2

Foo tke reaora
40
41

Case 1:21-cr-00179-RCL Document 113 Filed 10/03/23 Page 2 of 2

- Rachel with some of her children have a habit of walking the block picking

up trash.

These are only a few examples, all at her own expense, of the outstanding character
you are asked to judge that will be lost to the world community if Rachel is put in

prison.

I am fully convinced that Rachel is aware she did commit sins against you,
me and the people of this great country and is completely repentant. She
understands fully the way she acted to solve her concerns was outside law and no
additional penalty could make her more aware than the pain her family has suffered

these recent years of arrest.

Claim: It is in our best interest and of the people of this great country for

Rachael Marie Powell, the woman, to be released on her own recognizance. I claim
that further arrest of this woman is not in the best interest of these United States of
America, nor would it be in compliance with the duty of your Office to your Oath.

If in your judgement these claims are absolutely rebutted, let her be
remitted to where her children can visit freely, such as our farm (10 acres with a
five-bedroom house at the above address) under my and my retired Pennsylvania

attorney wife’s supervision with limits as you deem fit.

Sincerely and in law and mercy,

A Ow

Tom Altman

Constable, Chairman Emeritus of the Republican Party of Fairfield Township,
Westmoreland County, Pennsylvania, a people on the land, and a friend of law.

Forthe record
